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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE
                                   Bangor Division

CALVARY CHAPEL OF BANGOR,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )       Case No. ________________
                                             )
JANET MILLS, in her                          )
official capacity as Governor of the         )
State of Maine,                              )
                                             )
                      Defendant.             )

               VERIFIED COMPLAINT FOR DECLARATORY RELIEF,
              TEMPORARY RESTRAINING ORDER, PRELIMINARY AND
                PERMANENT INJUNCTIVE RELIEF, AND DAMAGES

        For its Verified Complaint against Defendant, JANET MILLS, in her official capacity as

Governor of the State of Maine (“Governor Mills” or the “State”), Plaintiff, CALVARY CHAPEL

OF BANGOR (“Calvary Chapel”), alleges and avers as follows:

             URGENCIES JUSTIFYING TEMPORARY RESTRAINING ORDER

        1.     In its Prayer for Relief, infra, and in the contemporaneously filed Motion for

Temporary Restraining Order (TRO), Calvary Chapel seeks a TRO restraining enforcement

against Calvary Chapel of the various COVID-19 orders issued by Governor Mills and other State

officials purporting to prohibit Calvary Chapel, on pain of criminal sanctions, from gathering in-

person at Calvary Chapel for worship services, regardless of the number of individuals present or

whether Calvary Chapel meets or exceeds the social distancing and hygiene guidelines pursuant

to which the State disparately and discriminatorily allows so-called “essential” commercial and

non-religious entities (e.g., liquor stores, marijuana dispensaries, warehouse clubs, and ‘big box’

stores) to accommodate large crowds and masses of persons without scrutiny or numerical limit.
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       2.      As shown in the verified allegations below, Governor Mills’ Executive Orders

relating to COVID-19 have been interpreted, applied, and enforced, including against the pastor

of Calvary Chapel, such that Pastor Ken Graves (“Pastor Graves”) has been forced not to hold

in-person religious services at the Church and to prohibit his members from attending their house

of worship.

       3.      At around the same time as Governor Mills’ Executive Orders surrounding

COVID-19 were being used to threaten criminal sanctions on Calvary Chapel’s pastor, officials in

other jurisdictions had similarly threatened to impose criminal sanctions on other religious

gatherings. In Louisville, Kentucky, for example, the government threatened to use police to

impose criminal sanctions on those individuals found in violation of similar COVID-19 orders and

threatened to impose various sanctions on individuals found in violation of such orders. The United

States District Court for the Western District of Kentucky found that the mere threat of such

criminal sanction warranted a TRO. See On Fire Christian Center, Inc. v. Fischer, No. 3:20-cv-

264-JRW, 2020 WL 1820249 (W.D. Ky. Apr. 11, 2020) [hereinafter On Fire]. The On Fire TRO

enjoined the Mayor of Louisville from “enforcing, attempting to enforce, threatening to

enforce, or otherwise requiring compliance with any prohibition on drive-in church services

at On Fire.” Id. at *1 (emphasis added).

       4.      In fact, the Maine State Police—acting under the direction of Governor Mills’

orders—have publicly declared that they would enforce the Governor’s orders and have threatened

to impose criminal sanctions on those found in violation of them.

       5.      Additionally, the Governor of Kansas had imposed a similar restriction on religious

gatherings in Kansas, stating that “gatherings” of more than 10 individuals are prohibited,

including religious gatherings. On April 18, 2020, the United States District for the District of

Kansas issued a TRO enjoining Kansas officials from enforcing its discriminatory prohibition on

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religious gatherings and required the government to treat “religious” worship services the same as

other similar gatherings that are permitted. See First Baptist Church. v. Kelly, No. 20-1102-JWB,

2020 WL 1910021, *6–7 (D. Kan. Apr. 18, 2020) [hereinafter First Baptist]. The First Baptist

TRO specifically stated that the government’s disparate treatment of religious gatherings was a

violation of the Free Exercise Clause because it showed that “religious activities were specifically

targeted for more onerous restrictions than comparable secular activities,” and that the

churches had shown irreparable harm because they would “be prevented from gathering for

worship at their churches” during the pendency of the executive order. Id. at *7–8 (emphasis

added).

          6.   In discussing the Kansas orders—which imposed a 10-person limit on in-person

gatherings, which is onerous but still not as restrictive as Governor Mills’ orders—the court said

that specifically singling out religious gatherings for disparate treatment while permitting other

non-religious activities “show[s] that these executive orders expressly target religious gatherings

on a broad scale and are, therefore, not facially neutral,” First Baptist, 2020 WL 1910021, at *7,

and—much like here—“churches and religious activities appear to have been singled out among

essential functions for stricter treatment. It appears to be the only essential function whose core

purpose—association for the purpose of worship—had been basically eliminated.” Id.

(emphasis added). Thus, the court found that a TRO was necessary and that Kansas should be

enjoined from enforcing its orders’ disparate terms against churches. Indeed, “it goes without

saying that the government could not lawfully expressly prohibit individuals from meeting

together for religious services.” Id. at *6 (emphasis added).

          7.   Additionally, the Sixth Circuit of Appeals has issued an Emergency Injunction

Pending Appeal prohibiting the Governor from enforcing prohibitions on religious worship

services. See Maryville Baptist Church, Inc. v. Beshear, -- F.3d --, No. 20-5427, 2020 WL 2111316

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(6th Cir. May 2, 2020). In that appeal challenging orders similar to Governor Mills’ orders here,

the Sixth Circuit stated that “[t]he Governor’s actions substantially burden the congregants’

sincerely held religious practices—and plainly so. . . . Orders prohibiting religious gatherings,

enforced by police officers telling congregants they violated a criminal law and by officers

taking down license plate numbers, amount to a significant burden on worship gatherings.”

2020 WL 2111316, at *2 (emphasis added). Additionally, “[t]he way the orders treat comparable

religious and non-religious activities suggests that they do not amount to the least restrictive way

of regulating the churches.” Id. “Outright bans on religious activity alone obviously count. So do

general bans that cover religious activity when there are exceptions for comparable secular

activities.” Id., at *3. In discussing the prohibitions on religious gatherings, the Sixth Circuit posed

several questions of equal import here:

        Assuming all of the same precautions are taken, why is it safe to wait in a car for a
        liquor store to open but dangerous to wait in a car to hear morning prayers? Why
        can someone safely walk down a grocery store aisle but not a pew? And why
        can someone safely interact with a brave deliverywoman but not with a stoic
        minister? The Commonwealth has no good answers. While the law may take
        periodic naps during a pandemic, we will not let it sleep through one.
Id., at *4 (emphasis added).
        8.      Because the prohibition on religious gatherings substantially burdened Maryville

Baptist’s sincerely held religious beliefs and was not the least restrictive means, the Sixth Circuit

concluded the plaintiff church and pastor were likely to succeed on the merits of their free exercise

claims as to both in-person and drive-in services. Id., at *2–3. Balancing the remaining injunction

factors, the court issued an injunction pending appeal enjoining the Governor of Kentucky from

enforcing his unconstitutional orders against drive-in services, and directed the district court to

prioritize consideration of enjoining in-person services, with the admonition, “The breadth of the

ban on religious services, together with a haven for numerous secular exceptions, should give

pause to anyone who prizes religious freedom.” Id., at *5.

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        9.      Calvary Chapel’s members were also threatened with criminal sanctions and

penalties if, at any time, any number of individuals gathered together for in-person worship

services at Calvary Chapel, and regardless of whether social distancing, enhanced sanitization, and

personal hygiene practices were followed. Because of the government threat of criminal sanction,

Calvary Chapel was forced not to host services on Easter Sunday, the most treasured day in

Christianity.

        10.     Absent emergency relief from this Court, Calvary Chapel, its pastor, and all

congregants will suffer immediate and irreparable injury from the threat of criminal prosecution

for the mere act of engaging in the free exercise of religion and going to church. Indeed, if Calvary

Chapel, its pastor, or its congregants do not subscribe to what Governor Mills’ has

prescribed as orthodox in a worship service, they risk becoming criminals in the State. A

temporary restraining should issue.

                                        INTRODUCTION

        11.     Due to the unprecedented nature of the 2019 novel coronavirus disease

(COVID-19) and the indisputable health tragedy the disease has wrought on our great Republic

and those victims suffering under its yoke, there are those who may find it “tempting to hold that

First Amendment rights should acquiesce to national security in this instance.” Tobey v. Jones,

706 F.3d 379, 393 (4th Cir. 2013). One could be forgiven for hastily reaching such a conclusion

in such uncertain times, but “our Forefather Benjamin Franklin warned against such a temptation

by opining that those who can give up essential liberty to obtain a little temporary safety, deserve

neither liberty nor safety.” Id.

        12.     When the great American experiment was first implemented, our revered Founders

took pains to note that the Constitution—and all of the rights it recognized and enshrined—was

instituted “in order to form a more perfect Union, establish Justice, insure domestic Tranquility,

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provide for the common defense, promote the general Welfare, and secure the Blessings of

Liberty to ourselves and our Posterity.” U.S. Const. Pmbl. (emphasis added). To this very day,

“we continue to strive toward ‘[that] more perfect union.’” Smith v. City of New Smyrna Beach,

No. 6:110cv01110-Orl-37KRS, 2013 WL 5230659, *1 (M.D. Fla. Sept. 16, 2013). That work is

not easy, and governments acting in good faith can and sometimes do miss the mark. This is such

a case.

          13.   Recognizing that times of crisis would arise, that such times might lead

governments to seek to repress precious freedoms, and that the Republic’s survival depended upon

defeating such repressive instincts, the genius of our founding document is that it placed explicit

protections into the text of the Bill of Rights. And, importantly, “[o]ur Bill of Rights placed our

survival on firmer ground—that of freedom, not repression.” Konigsberg v. State Bar of

California, 366 U.S. 36, 79 (1961) (Black, J., dissenting).

          14.   During times of national crisis, such as the current uncertainty arising from

COVID-19, “the fog of public excitement obscures the ancient landmarks set up in our Bill of

Rights.” American Communist Ass’n, C.I.O. v. Douds, 339 U.S. 382, 453 (1950) (Black, J.,

dissenting). But, where the fog of public excitement is at its apex, “the more imperative is the need

to preserve inviolate the constitutional rights of free speech, free press and free assembly.” De

Jonge v. Oregon, 299 U.S. 353, 365 (1937). Without doubt, “[t]herein lies the security of the

Republic, the very foundation of constitutional government.” Id.

          15.   It is beyond cavil that our commitment to our founding principles is most tested

and best calculated during times of crisis and uncertainty. Indeed, “[t]imes of crisis take the truest

measure of our commitment to constitutional values. Constitutional values are only as strong as

our willingness to reaffirm them when they seem most costly to bear.” Hartness v. Bush, 919

F.2d 170, 181 (D.C. Cir. 1990) (Edwards, J., dissenting) (emphasis added). Our willingness to

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reaffirm our staunch commitment to our fundamental freedoms is imperative to the very survival

of the American experiment. For, “[h]istory reveals that the initial steps in the erosion of individual

rights are usually excused on the basis of an ‘emergency’ or threat to the public. But the ultimate

strength of our constitutional guarantees lies in the unhesitating application in times of crisis

and tranquility alike.” United States v. Bell, 464 F.2d 667, 676 (2d Cir. 1972) (Mansfield, J.,

concurring) (emphasis added).

       16.     Calvary Chapel brings this case to restrain the troubling transgression of its

fundamental and cherished liberties wrought by the imposition of Governor Mills’ orders

surrounding COVID-19. Calvary Chapel seeks not to discredit or discard the government’s

unquestionable interest in doing that task for which it was instituted—protecting the citizenry. But,

as is often true in times of crisis, Calvary Chapel respectfully submits that in an effort to uphold

her sworn duties Governor Mills has stepped over a line the Constitution does not permit. Because

of that, Calvary Chapel brings this action to ensure that this Court safeguards the cherished liberties

for which so many have fought and died. For, “[i]f the provisions of the Constitution be not

upheld when they pinch as well as when they comfort, they may as well be discarded.” Home

Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 483 (1934) (Sutherland, J., dissenting) (emphasis

added). Calvary Chapel prays unto the Court that it not permit the cherished and fundamental

liberties enshrined in the Constitution to be another tragic casualty of COVID-19.

                                             PARTIES

       17.     Plaintiff, CALVARY CHAPEL OF BANGOR (“Calvary Chapel” or the

“Church”), is a non-profit corporation incorporated under the laws of the State of Maine with its

principal place of business at 154 River Road Orrington, Maine 04474.

       18.     Defendant, JANET MILLS, in her official capacity as Governor of the State of

Maine (“Governor Mills” or the “State”), is responsible for enacting and enforcing the COVID-19

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Executive Orders and other Orders at issue in this litigation. Governor Mills is sued in her official

capacity.

                                 JURISDICTION AND VENUE

        19.    This action arises under the First and Fourteenth Amendments to the United States

Constitution and is brought pursuant to 42 U.S.C. § 1983. This action also arises under the

Religious Land Use and Institutionalized Persons Act, 42 U.S.C. §2000cc, et seq. This action also

arises under Article I, Sections 3, 4, and 13 the Constitution of Maine.

        20.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,

and 1367.

        21.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Calvary Chapel’s claims occurred in this

district.

        22.    This Court is authorized to grant declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. §§ 2201–02, implemented through Rule 57 of the Federal Rules of Civil

Procedure, and is authorized to grant a temporary restraining order and injunctive relief pursuant

to Rule 65 of the Federal Rules of Civil Procedure.

        23.    This Court is authorized to grant Calvary Chapel’s prayer for relief regarding costs,

including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.

                                  GENERAL ALLEGATIONS

        A.     GOVERNOR MILLS’ EXECUTIVE ORDERS AND RELATED ORDERS
               FROM THE STATE OF MAINE.

        24.    On March 15, 2020, in response to COVID-19, Governor Mills issued Proclamation

of State of Civil Emergency to Further Protect Public Health, which declared a state of emergency




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in the State of Maine. A true and correct copy of the March 15th Emergency Proclamation is

attached hereto as EXHIBIT A and incorporated herein.

       25.     In the Emergency Proclamation, Governor Mills stated that COVID-19 “poses an

imminent threat of substantial harm to our citizens” and directed various government agencies to

implement certain restrictions and orders to facilitate the State’s response.

       26.     On March 18, 2020, Governor Mills issued Executive Order 14 stating that

“[g]atherings of more than 10 people are prohibited throughout the State,” and declared that such

a prohibition was primarily aimed at “social, personal, and discretionary events,” including those

gatherings that are “faith-based.” A true and correct copy of Executive Order 14 is attached hereto

as EXHIBIT B and incorporated herein.

       27.     On March 24, 2020, Governor Mills issued Executive Order 19, which continued

to prohibit all gatherings of more than 10 people. A true and correct copy of Executive Order 19

is attached hereto as EXHIBIT C and incorporated herein.

       28.     Though continuing the prohibition on “faith-based” gatherings (i.e., church) of

more than 10 people, Governor Mills carved out a massive exemption from such prohibitions for

businesses deemed “essential” and for certain businesses deemed “non-essential.” Such “essential

businesses include inter alia “grocery and household goods” stores, gas stations, “home repair,

hardware and auto repair” stores, and “convenience stores.” This exemption likewise permitted

“big box” stores to continue operations.

       29.     Businesses deemed “essential” are permitted to continue operations subject to the

requirement—but only “to maximum extent practicable”—that they adhere to social distancing

recommendations, maintaining a six-foot distance between individuals, and other measures

recommended by various government agencies.




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        30.     Executive Order 19 also permitted “non-essential” businesses to continue provided

in-person contact with customers is restricted, they do not require more than 10 employees in a

space where distancing is not possible, and are facilitated by remote employees to the maximum

extent practicable. These non-essential businesses include “shopping malls, theaters, casinos . . .

exercise gyms . . . massage facilities . . ., and other personal care and treatment facilities.”

        31.     Violation of Executive Order 19 carried with it criminal and business licensing

penalties.

        32.     On March 31, 2020, Governor Mills issued Executive Order 28, which stated: “[a]ll

persons living in the State of Maine are hereby ordered, effective as of 12:01 AM on April 2, 2020

to stay at their homes or places of residence.” A true and correct copy of Executive Order 28 is

attached hereto as EXHIBIT D and incorporated herein.

        33.     Executive Order 28 only permitted residents to travel out of their homes if they

were conducting “essential” activities or traveling to work at a business allowed to continue

operations.

        34.     Executive Order 28 further restricted the functions of “essential” businesses by

setting numerical limitations on the number of customers or patrons depending on the square

footage of the building in which the business was located, permitting 5 people for buildings of less

than 7,500 square feet, 15 people for buildings between 7,500 and 25,000 square feet, 50 people

for buildings between 25,000 and 50,000 square feet, 75 people for buildings between 50,000 and

75,000 square feet, and 100 for buildings larger than 75,000 square feet.

        35.     The exemption allowing “essential” businesses to operate subject to numerical

limitations was not applicable to faith-based gatherings or churches, regardless of the size of the

building in which such worship services take place.




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       36.     Executive Order 28 stated that violations constituted a class E crime subject to up

to six months in jail and a $1,000 fine.

       37.     On April 3, 2020, Governor Mills issued a list further explaining what businesses

were considered “essential” and those deemed “non-essential” under the previous Executive

Orders. A true and correct copy of Governor Mills’ “Essential Business List” is attached hereto as

EXHIBIT E and incorporated herein.

       38.     The list of “essential” businesses included grocery stores, household goods stores,

gas stations, hardware stores, home repair stores, garden centers and stores, child care services,

and marijuana dispensaries.

       39.     Executive Order 28 stated that its prohibitions were in effect until April 30, 2020.

       40.     On April 14, 2020, Governor Mills issued a Proclamation to Renew the State of

Civil Emergency in Maine, extending the purported authorities in Maine to continue to order

prohibitions on religious gatherings and business closures for another 30 days. A true and correct

copy of the Proclamation Extension is attached hereto as EXHIBIT F and incorporated herein.

       41.     On April 29, 2020, Governor Mills issued Executive Order 49, further extending

her stay-at-home orders until at least May 31. A true and correct copy of Executive Order 49 is

attached hereto as EXHIBIT G and incorporated herein.

       42.     Executive Order 49 explicitly states that all of the prohibitions concerning “faith-

based” gatherings remain in full effect, and that certain guidance documents would be made

available concerning the potential re-opening of Maine’s economy in the coming days.

       43.     Executive Order 49 states that the “Restarting Plan” would permit certain

businesses and operations to reopen subject to the guidelines stated in the Restarting Plan, and that

those businesses or activities allowed to open were “subject to change depending upon the

demonstrated efficacy of the conditions imposed” on those businesses or activities.

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       44.     On April 28, 2020, Governor Mills released the “Restarting Maine’s Economy”

plan, further outlining the Governor’s continued prohibitions on certain gatherings. A true and

correct copy of the Restarting Maine’s Economy plan is attached hereto as EXHIBIT H and

incorporated herein.

       45.     Restarting Maine’s Economy contemplates that businesses and activities will be

permitted to reopen in phases with “Stage 1” contemplated to begin sometime in May, but the plan

states that no concrete decisions have been made and that “decisions will be determined by public

health metrics.”

       46.     If Governor Mills does permit Stage 1 to commence sometime in May, although it

is not certain based on the plan, certain functions at churches and “religious” gatherings will be

permitted under Governor Mills’ proscribed orthodoxy for worship services

       47.     Stage 1 contemplates “a continued prohibition on gathering of more than 10

people.”

       48.     Restarting Maine’s Economy states that churches or religious organizations, if

permitted to open during Stage 1, will be “[l]imited to drive-in, stay-in-your-vehicle church

services.” Otherwise, as contemplated in Executive Order 49, the stay-at-home order remains in

full effect prohibiting any gathering of individuals.

       49.     Churches and religious gatherings are not mentioned in any of the subsequent

stages, and thus no further guidance on the speculative “drive-in stay-in-your-vehicle church

services” potentially coming sometime in May will continue beyond May or whether different

circumstances and prohibitions will continue.

       50.     Calvary Chapel hereinafter refers to Executive Order 14, Executive Order 19,

Executive Order 28, Executive Order 49, and the Restarting Maine’s Economy plan (EXHBITS

A–H) collectively as the “GATHERING ORDERS.”

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       B.      THE STATE’S ENFORCEMENT OF GOVERNOR MILLS’ GATHERING
               ORDERS.

       51.     On April 2, 2020, the Maine State Police issued press statements indicating that it

will enforce Governor Mills’ GATHERING ORDERS against churches and individuals found in

violation of them. A true and correct copy of the Maine State Police’s Enforcement Practices

Memorandum is attached hereto as EXHIBIT I and incorporated herein.

       52.     The Enforcement Memorandum states that while the Maine State Police is “asking

for voluntary compliance” with the GATHERING ORDERS, the State Police will—in certain

circumstances—“issu[e] summonses or mak[e] physical arrests” for violating the GATHERING

ORDERS.

       53.     The Enforcement Memorandum explicitly notes that the Maine State Police will be

“ask[ing] questions to ensure compliance” and that it hopes residents of Maine will “not put our

officers in the position of having to enforce the law.”

       54.     Through its Enforcement Memorandum, the Maine State Police has unquestionably

demonstrated that it intends to enforce the GATHERING ORDERS, including against Calvary

Chapel and its religious services.

       C.      CALVARY CHAPEL’S CHURCH SERVICES CAN AND WILL COMPLY
               WITH  SOCIAL   DISTANCING  AND    PERSONAL   HYGIENE
               RECOMMENDATIONS.

       55.     To comply with the CDC and other governmental social distancing and personal

hygiene guidelines imposed by Governor Mills’ GATHERING ORDERS (i.e., “to maximum

extent practicable” for exempted businesses) for its worship services, Calvary Chapel can and

would practice stringent social distancing and personal hygiene protocols, including extensive and

enhanced sanitizing of common surfaces in Calvary Chapel’s building prior to the service, and




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requiring attendees to remain at least six feet apart and use hand sanitizer prior to entering and

during movement inside Calvary Chapel’s building.

       56.     Calvary Chapel also has the capability to abide by all of the guidelines set out by

the Maine Center for Disease Control and Prevention and will implement all such guidelines at its

in-person religious gatherings.

       D.      GOVERNOR MILLS’ UNEQUAL TREATMENT OF NON-RELIGIOUS
               GATHERINGS.

       57.     On May 3, 2020, at around the same time as Calvary Chapel was prohibited from

hosting its in-person religious worship services, businesses in Bangor and the surrounding area

were permitted to and did continue to operate without the onerous restrictions imposed on Calvary

Chapel.

       58.     As accurately depicted in the below photographs, on May 3, 2020, around the same

time that Calvary Chapel was prohibited from having a religious gathering, the Walmart in Bangor

had hundreds of cars parked in the parking lot, right next to one another without the onerous social

distancing mandates forced on Calvary Chapel.




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       59.    Similarly, and as accurately depicted in the below photograph, on May 3, 2020, at

the Target Store in Bangor, countless cars were present in the parking lot while Calvary Chapel

was suffering under the yoke of the GATHERING ORDERS.




       60.    As accurately depicted in the below photographs, on May 3, 2020, the Home Depot

in Bangor was similarly permitted to continue operating with large numbers of people while

Calvary Chapel was threatened with enforcement under the GATHERING ORDERS.




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       61.     As accurately depicted in the below photograph, the BJ’s Wholesale Club similarly

had large gatherings on May 3, 2020 without the restrictions imposed on Calvary Chapel’s

religious services.




       62.     As accurately depicted in the below photograph, the Sam’s Club in Bangor had

similar large gatherings on May 3, 2020, while Calvary Chapel was not permitted to host its

religious gatherings of a similar nature.




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       63.     Finally, and as accurately depicted in the below photographs, Lowe’s Home

Improvement Store’s parking lot was filled with cars on May 3, 2020, while Calvary Chapel was

prohibited from having such gatherings for its religious services.




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        E.      LESS RESTRICTIVE               ALTERNATIVES            ARE      AVAILABLE           TO
                GOVERNOR MILLS.

        64.     Despite Governor Mills’ insistence that in-person religious gatherings of more than

10 people cannot continue because they would spread COVID-19, the State has failed to consider

other, substantially less restrictive alternatives to an absolute prohibition on “religious” gatherings.

        65.     Like the State of Maine, the State of Florida has issued stay-at-home executive

orders and required the closure of all so-called “non-essential” businesses without unnecessarily

discriminating against religious gatherings. On April 1, 2020, Florida Governor Ron DeSantis

issued Executive Order 20-91, which included “religious services conducted in churches,

synagogues, and houses of worship” as essential activities permitted to continue subject to

social distancing and personal hygiene guidelines. A true and correct copy of Florida Executive

Order 20-91 is attached hereto as EXHIBIT J and incorporated herein.

        66.     The State of Indiana has likewise issued stay-at-home executive orders and required

the closure of all so-called “non-essential” businesses without unnecessarily discriminating against

religious gatherings. Governor Eric. J. Holcomb’s Executive Order 20-08 declared that “[r]eligious

facilities, entities and groups, and religious gatherings” are essential and may continue to operate

provided they follow appropriate social distancing and personal hygiene practices. A true and

correct copy of Indiana’s Executive Order 20-08 is attached hereto as EXHIBIT K and

incorporated herein.

        67.     The State of Arizona, in Executive Order 2020-18, classified “[e]ngaging in

constitutionally protected activities such as speech and religion” as essential activities, subject to

a flexible requirement that such engagement be “conducted in a manner that provides appropriate

physical distancing to the extent feasible.” The Arizona Attorney General, in Opinion I20-008,

interpreted such essential activities clearly to include assembling for religious worship. True and



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correct copies of Arizona Executive Order 2020-18 and Arizona Attorney General Opinion

I20-008 are attached hereto as EXHIBIT L and EXHIBIT M, respectively, and incorporated

herein.

          68.   The State of Alabama, in its final Order of the State Health Officer Suspending

Certain Public Gatherings Due to Risk of Infection by COVID-19, issued April 3, 2020, exempts

individuals attending religious worship services in person subject to certain requirements and

permits “drive-in” worship services without limitation. A true and correct copy of the Alabama

Order is attached hereto as EXHIBIT N and incorporated herein.

          69.   The State of Arkansas has likewise exempted “places of worship” from its

Executive Order 20-13 imposing restrictions to prevent the spread of COVID-19, provided that

they engage in adequate social distancing and personal hygiene practices. A true and correct copy

of the Arkansas Executive Order is attached hereto as EXHIBIT O and incorporated herein.

          70.   The State of Connecticut has similarly shown that other, less restrictive alternatives

are available. In Executive Order No. 7N, Governor Ned Lamont permitted religious services to

continue to meet, but limited their in-person gatherings to 50 people, as opposed to the six-person

limit applicable to other gatherings. A true and correct copy of the Connecticut Executive Order

No. 7N is attached hereto as EXHIBIT P and incorporated herein.

          71.   The State of Texas has likewise issued certain COVID-19 orders, but has provided

explicit protections to religious gatherings and issued directives outlining the protection for

religious freedom, even in these times of uncertainty. A true and correct copy of the Texas

Guidance for Houses of Worship is attached hereto as EXHIBIT Q and incorporated herein. In

that Guidance, Texas notes that religious assemblies and houses of worship are “essential services”

and that in-person gatherings are permissible if social distancing and personal hygiene practices

are followed.

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        72.     The State of Ohio has likewise issued certain COVID-19 orders, including the Ohio

Department of Health’s Stay Safe Ohio Order. A true and correct copy of the Ohio order is attached

hereto as EXHIBIT R and incorporated herein. Ohio’s order likewise states that the stay at home

mandate “does not apply to religious facilities, entities and groups and religious gatherings.”

        73.     Numerous other states have similarly permitted religious gatherings to be treated

equally with non-religious gatherings.

        74.     As these other states have demonstrated, Governor Mills can continue to pursue the

State’s objective of preventing the spread of COVID-19 without unnecessarily treating religious

gatherings in a discriminatory manner, and the State has numerous other, less restrictive

alternatives available to it to do so.

        75.     Governor Mills has neither tried without success nor considered and ruled out

for good reason these less restrictive alternatives.

        76.     Governor Mills has constitutionally permissible alternatives available, but has

failed to attempt to achieve the State’s purported goals without unnecessarily interfering with

constitutionally protected activities.

        F.      IRREPARABLE INJURY TO CALVARY CHAPEL FROM GOVERNOR
                MILLS’ GATHERING ORDERS.

        77.     Despite being capable of following all social distancing and personal hygiene

protocols recommended by the CDC and specified in the GATHERING ORDERS, Calvary Chapel

has been explicitly targeted, singled out, and punished for participating in an in-person religious

gathering when exempted commercial and non-religious entities may accommodate gatherings,

crowds, and masses of people without numeric limitation, and without targeting or punishment by

the government.




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       78.     As a result of Governor Mills’ GATHERING ORDERS, Calvary Chapel has

suffered and is suffering irreparable injury by having Pastor Graves and all attendees of future

services threatened with criminal sanction.

       79.     As a result of Governor Mills’ GATHERING ORDERS, Calvary Chapel has

suffered and is suffering irreparable injury by being prohibited from engaging in its

constitutionally and statutorily protected rights of free exercise, assembly, and speech.

       80.     As a result of Governor Mills’ GATHERING ORDERS, Calvary Chapel has

suffered and is suffering irreparable injury by the infringement of its constitutionally protected

right to be free from government hostility toward religion.

       81.     As a result of the Governor Mills’ GATHERING ORDERS and the explicit threats

from the Maine State Police, Calvary Chapel has suffered and is suffering irreparable injury by the

continuing threat of criminal sanctions against Calvary Chapel’s Pastor Graves and congregants

for merely exercising their constitutionally protected freedoms.

       82.     Due to the explicit threats of Governor Mills’ GATHERING ORDERS and the

announcements by the Maine State Police, Calvary Chapel has been forced to self-censor, cease

its religious worship services, and violate its sincerely held religious beliefs.

       G.      CALVARY CHAPEL’S ATTEMPTS TO SECURE RELIEF WITHOUT
               JUDICIAL INTERVENTION WERE IGNORED AND FURTHER
               ATTEMPTS TO NOTIFY THE STATE ARE FUTILE AND
               IMPRACTICAL BEFORE THIS SUNDAY.

       83.     On May 4, 2020, prior to the commencement of the instant action, Calvary Chapel’s

counsel sent by email a demand letter to Governor Mills, with copies to state and local police and

other officials, in which Calvary Chapel’s counsel demanded, by 5:00 P.M. on May 5, written

confirmation that the State has withdrawn the ban on religious gatherings embodied in the

GATHERING ORDERS, will allow individuals to attend church services at Calvary Chapel in an



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equal manner with other essential and non-essential business permitted to continue provided

certain social distancing and personal hygiene practices are followed, and will cease enforcement

of any church gathering ban against members and/or attendees of Calvary Chapel church services.

A true and correct copy of the demand letter is attached hereto as EXHIBIT S. No written response

from Governor Mills’ office was received by the requested deadline, or at any time prior to the

filing of this Verified Complaint.

       84.     The failure of Governor Mills or her officials to confirm withdrawal or cessation of

enforcement of the discriminatory gathering ban for religious services in the GATHERING

ORDERS and applied to Calvary Chapel and its pastor shows that Calvary Chapel’s irreparable

injury to its constitutionally protected freedoms is ongoing.

       85.     The failure of Governor Mills or her officials to respond to Calvary Chapel’s

communication also shows that notice and an opportunity to respond to this lawsuit cannot be

effectuated, and would be futile, prior to this Sunday’s worship activities at Calvary Chapel, when

the State and/or other government officials will again interfere with the constitutional liberties of

Calvary Chapel and its congregants absent a temporary restraining order from this Court.

                                 CONSTITUTIONAL CLAIMS

                  COUNT I—THE GATHERING ORDERS VIOLATE
               PLAINTIFF’S RIGHT TO FREE EXERCISE OF RELIGION
                        UNDER THE FIRST AMENDMENT

       86.     Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

       87.     The Free Exercise Clause of the First Amendment to the United States Constitution,

as applied to the states by the Fourteenth Amendment, prohibits the State from abridging Calvary

Chapel’s rights to free exercise of religion.




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       88.     Calvary Chapel has sincerely held religious beliefs that Scripture is the infallible,

inerrant word of the Lord Jesus Christ, and that it is to follow its teachings.

       89.     Calvary Chapel has sincerely held religious beliefs, rooted in Scripture’s

commands (e.g., Hebrews 10:25), that followers of Jesus Christ are not to forsake the assembling

of themselves together, and that they are to do so even more in times of peril and crisis. Indeed,

the entire purpose of the Church (in Greek “ekklesia,” meaning “assembly”) is to assemble

together Christians to worship Almighty God.

       90.     The GATHERING ORDERS, on their face and as applied, target Calvary Chapel’s

sincerely held religious beliefs by prohibiting religious gatherings.

       91.     The GATHERING ORDERS, on their face and as applied, impermissibly burden

Calvary Chapel’s sincerely held religious beliefs, compel Calvary Chapel to either change those

beliefs or to act in contradiction to them, and force Calvary Chapel to choose between the teachings

and requirements of its sincerely held religious beliefs in the commands of Scripture and the State’s

imposed value system.

       92.     The GATHERING ORDERS, on their face and as applied, place Calvary Chapel

in an irresolvable conflict between compliance with the GATHERING ORDERS and its sincerely

held religious beliefs.

       93.     The GATHERING ORDERS, on their face and as applied, put substantial pressure

on Calvary Chapel to violate its sincerely held religious beliefs by ignoring the fundamental

teachings and tenets of Scripture concerning the assembling of Believers.

       94.     The GATHERING ORDERS, on their face and as applied, are neither neutral nor

generally applicable, but rather specifically and discriminatorily target the religious beliefs,

speech, assembly, and viewpoint of Calvary Chapel.




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        95.      The GATHERING ORDERS, on their face and as applied, constitute a substantial

burden on Calvary Chapel’s sincerely held religious beliefs.

        96.      The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of different standards for churches and religious gatherings than those

applicable to exempted businesses or non-religious entities.

        97.      Even if the GATHERING ORDERS’ restriction on religious gatherings were

supported by a compelling interest, which it is not, they are not the least restrictive means to

accomplish the government’s purported interest.

        98.      The GATHERING ORDERS, on their face and as applied, fail to accommodate

Calvary Chapel’s sincerely held religious beliefs.

        99.      The GATHERING ORDERS, on their face and as applied, specifically target

Calvary Chapel’s sincerely held religious beliefs and set up a system of individualized exemptions

that permits certain other similarly situated businesses or non-religious entities to continue

operations under certain guidelines while prohibiting religious gatherings, such as Calvary

Chapel’s church and worship services, from operating with similar guidelines.

        100.     The GATHERING ORDERS, on their face and as applied, constitute an express

and overt religious gerrymander.

        101.     The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        102.     Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for relief against the State as hereinafter

set forth in its prayer for relief.

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                    COUNT II—THE GATHERING ORDERS VIOLATE
                    PLAINTIIFF’S RIGHT TO PEACEABLE ASSEMBLY
                          UNDER THE FIRST AMENDMENT

          103.   Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

          104.   The First Amendment to the United States Constitution, as applied to the states by

the Fourteenth Amendment, prohibits the State from abridging the right of the people peaceably

to assemble.

          105.   The GATHERING ORDERS, on their face and as applied, are an unconstitutional

prior restraint on Calvary Chapel’s right to assemble.

          106.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of viewpoint.

          107.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of content.

          108.   The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of differential standards for churches and religious gatherings than those

applicable to exempted businesses or non-religious entities.

          109.   The GATHERING ORDERS, on their face and as applied, are not the least

restrictive means to accomplish any permissible government purpose sought to be served by the

orders.

          110.   The GATHERING ORDERS, on their face and as applied, are not narrowly tailored

to serve the government’s purported interest.

          111.   The GATHERING ORDERS, on their face and as applied, do not leave open ample

alternative channels of communication for Calvary Chapel.




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        112.    The GATHERING ORDERS, on their face and as applied, are irrational and

unreasonable and impose unjustifiable and unreasonable restrictions on Calvary Chapel’s

constitutionally protected right to assemble.

        113.    The GATHERING ORDERS, on their face and as applied, impermissibly vest

unbridled discretion in the hands of government officials, including Governor Mills and her

designees, to apply or not apply the GATHERING ORDERS in a manner to restrict free assembly.

        114.    The GATHERING ORDERS, on their face and as applied, are underinclusive by

limiting their gathering prohibitions to only certain businesses or organizations deemed “non-

essential.”

        115.    The GATHERING ORDERS, on their face and as applied, are unconstitutionally

vague and overbroad as they chill and abridge the free assembly rights of Calvary Chapel.

        116.    On their face and as applied, the GATHERING ORDERS’ violation of Calvary

Chapel’s right to free assembly have caused, are causing, and will continue to cause Calvary

Chapel to suffer immediate and irreparable injury and undue and actual hardship.

        117.    Calvary Chapel has no other adequate remedy at law to correct the continuing

deprivation of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in its prayer for relief.

                     COUNT III - THE GATHERING ORDERS VIOLATE
                     PLAINTIFF’S RIGHTS TO FREEDOM OF SPEECH
                           UNDER THE FIRST AMENDMENT

        118.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.




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          119.   The Free Speech Clause of the First Amendment to the United States Constitution,

as applied to the states by the Fourteenth Amendment, prohibits the State from abridging Calvary

Chapel’s freedom of speech.

          120.   The GATHERING ORDERS, on their face and as applied, are an unconstitutional

prior restraint on Calvary Chapel’s speech.

          121.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of viewpoint.

          122.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of content.

          123.   The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of different standards for churches and religious gatherings than those

applicable to exempted businesses and non-religious entities.

          124.   The GATHERING ORDERS, on their face and as applied, are not the least

restrictive means to accomplish any permissible government purpose sought to be served by the

orders.

          125.   The GATHERING ORDERS, on their face and as applied, are not narrowly tailored

to serve the government’s purported interest.

          126.   The GATHERING ORDERS, on their face and as applied, do not leave open ample

alternative channels of communication for Calvary Chapel.

          127.   The GATHERING ORDERS, on their face and as applied, are irrational and

unreasonable and impose unjustifiable and unreasonable restrictions on Calvary Chapel’s

constitutionally protected speech.




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        128.    The GATHERING ORDERS, on their face and as applied, impermissibly vest

unbridled discretion in the hands of government officials, including Governor Mills and her

designees, to apply or not apply the GATHERING ORDERS in a manner to restrict free speech.

        129.    The GATHERING ORDERS, on their face and as applied, are underinclusive by

limiting their prohibitions to only certain entities, organizations, or businesses deemed “non-

essential.”

        130.    The GATHERING ORDERS, on their face and as applied, are unconstitutionally

overbroad as they chill and abridge the free speech rights of Calvary Chapel.

        131.    On their face and as applied, the GATHERING ORDERS’ violation of Calvary

Chapel’s rights to free speech have caused, are causing, and will continue to cause Calvary Chapel

to suffer immediate and irreparable injury and undue and actual hardship.

        132.    Calvary Chapel has no other adequate remedy at law to correct the continuing

deprivation of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in its prayer for relief.

                   COUNT IV—THE GATHERING ORDERS VIOLATE
              THE ESTABLISHMENT CLAUSE OF THE FIRST AMENDMENT

        133.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

        134.    The Establishment Clause of the First Amendment to the United States

Constitution, as applied to the states by the Fourteenth Amendment, prohibits the government from

establishing a religion.

        135.    The Establishment Clause also prohibits excessive government entanglement with

religion.



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       136.    The Establishment Clause also prohibits the government from showing hostility

towards religion and prohibits showing favoritism towards one religious sect over another or

between non-religion and religion.

       137.    The government mandated prohibition on “faith-based” gatherings in the

GATHERING ORDERS violates the Establishment Clause because the State of Maine thereby

dictates the manner in which Christians and churches must worship or worship online.

       138.    The Establishment Clause does not permit the State of Maine to dictate under

penalty of criminal sanctions the manner, style, form, practices, or sacraments of religious worship

and thereby impose its own version of religious worship on every church and citizen of the State.

       139.    In fact, as the Supreme Court has unequivocally stated, “[i]f there is any fixed star

in our constitutional constellation, it is that no official, high or petty, can prescribe what shall be

orthodox in politics, nationalism, religion, or other matters of opinion or force citizens to confess

by word or act their faith therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943)

(emphasis added).

       140.    The State, through Governor Mills’ GATHERING ORDERS, is purporting to

prescribe what shall be orthodox in matters of religious worship, and is thus running roughshod

over the Establishment Clause.

       141.    The GATHERING ORDERS, on their face and as applied, permit the State to

display impermissible hostility towards religious gatherings.

       142.    The GATHERING ORDERS, on their face and as applied, impermissibly show

favoritism towards certain non-religious gatherings over religious gatherings.

       143.    The GATHERING ORDERS, on their face and as applied, violate the

Establishment Clause because they excessively entangle the government with religion.




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        144.    The GATHERING ORDERS, on their face and as applied, purport to inform

religious adherents and believers how they may choose to worship, assemble together, or engage

in their religious freedoms.

        145.    The GATHERING ORDERS, on their face and as applied, purport to establish an

acceptable method of religious practice and worship, place a numerical limitation on the scope of

how such religious practice and worship may occur, and provide a government imprimatur for

only certain forms of “permissible” worship.

        146.    The GATHERING ORDERS, on their face and as applied, demonstrate overt

hostility to religious practice and worship that does not conform to government sanctioned

religious exercises.

        147.    The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        148.    Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished constitutional liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in their prayer for relief.

                       COUNT V—THE GATHERING ORDERS VIOLATE
                        PLAINTIFF’S RIGHT TO EQUAL PROTECTION
                          UNDER THE FOURTEENTH AMENDMENT

        149.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

        150.    The Fourteenth Amendment to the United States Constitution guarantees Calvary

Chapel the right to equal protection under the law.




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         151.   The GATHERING ORDERS, on their face and as applied, are an unconstitutional

abridgement of Calvary Chapel’s right to equal protection under the law, are not neutral, and

specifically target Calvary Chapel’s and other religious gatherings for unequal treatment.

         152.   The GATHERING ORDERS, on their face and as applied, are an unconstitutional

abridgment of Calvary Chapel’s right to equal protection because they permit the State to treat

Calvary Chapel differently from other similarly situated businesses and non-religious entities on

the basis of the content and viewpoint of Calvary Chapel’s gatherings.

         153.   The GATHERING ORDERS create a system of exempt categories that permit

essential businesses and gatherings to continue to operate with restriction or threat of sanction, and

impose disparate treatment to those categories of businesses and gatherings called “non-essential.”

         154.   The GATHERING ORDERS system of categories represents disparate treatment

based upon classification in violation equal protection.

         155.   The GATHERING ORDERS, on their face and as applied, impermissibly

discriminate between certain non-religious gatherings and religious gatherings.

         156.   The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of different standards for churches and religious gatherings than those

applicable to exempted businesses or non-religious entities.

         157.   The GATHERING ORDERS, on their face and as applied, are not the least

restrictive means to accomplish any permissible government purpose sought to be served.

         158.   The GATHERING ORDERS, on their face and as applied, do not have a rational

basis.

         159.   The GATHERING ORDERS, on their face and as applied, are irrational and

unjustifiable and impose irrational and unjustifiable restrictions on Calvary Chapel’s religious

gatherings.

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        160.     The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        161.     Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for relief against the State as hereinafter

set forth in its prayer for relief.

                COUNT VI—THE GATHERING ORDERS VIOLATE
         PLAINTIFF’S RIGHT TO A REPUBLICAN FORM OF GOVERNMENT
            UNDER THE GUARANTEE CLAUSE OF ARTICLE IV, § 4 OF
                     THE UNITED STATES CONSTITUTION

        162.     Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

        163.     Article IV, § 4 of the United States Constitution requires the United States to

guarantee to every citizen in the nation a republican form of government.

        164.     The Guarantee Clause’s distinguishing feature is that the republican form of

government it guarantees is the right of the people to choose their own governmental

administration and pass their own laws.

        165.     As interpreted by the federal judiciary and prominent scholars, the Guarantee

Clause mandates that the federal government guarantee a form of government for all citizens in

which supreme power resides in a body of citizens entitled to vote and exercised by elected officers

responsible to such citizens.

        166.     The GATHERING ORDERS’ express, unilateral, and unequivocal exercises of

purported executive authority over the constitutional rights of Calvary Chapel deprive Calvary

Chapel of the right to select its own government administration, pass its own laws, and maintain a



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government administration directly responsible to the people, including by laws that are enacted

by the legislature in constitutional recognition of the separation of powers.

        167.    The impermissible exercise of exclusive and unaccountable executive authority

violates the Guarantee Clause of the United States Constitution.

        168.    The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        169.    Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in its prayer for relief.

               COUNT VII—THE GATHERING ORDERS VIOLATE
        PLAINTIFF’S RIGHT TO FREE EXERCISE OF RELIGION UNDER
    ARTICLE I, SECTION 3 OF THE CONSTITUTION OF THE STATE OF MAINE

        170.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

        171.    Article I, § 3 of the Constitution of the State of Maine states:

        All individuals have a natural and unalienable right to worship Almighty God
        according to the dictates of their own consciences, and no person shall be hurt,
        molested or restrained in that person's liberty or estate for worshipping God in the
        manner and season most agreeable to the dictates of that person's own conscience,
        nor for that person's religious professions or sentiments, provided that that person
        does not disturb the public peace, nor obstruct others in their religious
        worship;—and all persons demeaning themselves peaceably, as good members of
        the State, shall be equally under the protection of the laws . . . .

(Emphasis added.)

        172.    Calvary Chapel has sincerely held religious beliefs that Scripture is the infallible,

inerrant word of the Lord Jesus Christ, and that it is to follow its teachings.



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       173.    Calvary Chapel has sincerely held religious beliefs, rooted in Scripture’s

commands (e.g., Hebrews 10:25), that followers of Jesus Christ are not to forsake the assembling

of themselves together, and that they are to do so even more in times of peril and crisis. Indeed,

the entire purpose of the Church (in Greek “ekklesia,” meaning “assembly”) is to assemble

together Christians to worship Almighty God.

       174.    The GATHERING ORDERS, on their face and as applied, target Calvary Chapel’s

sincerely held religious beliefs by prohibiting religious gatherings.

       175.    The GATHERING ORDERS, on their face and as applied, impermissibly burden

Calvary Chapel’s sincerely held religious beliefs, compel Calvary Chapel to either change those

beliefs or to act in contradiction to them, and force Calvary Chapel to choose between the teachings

and requirements of its sincerely held religious beliefs in the commands of Scripture and the State’s

imposed value system.

       176.    The GATHERING ORDERS, on their face and as applied, place Calvary Chapel

in an irresolvable conflict between compliance with the GATHERING ORDERS and its sincerely

held religious beliefs.

       177.    The GATHERING ORDERS, on their face and as applied, put substantial pressure

on Calvary Chapel to violate its sincerely held religious beliefs by ignoring the fundamental

teachings and tenets of Scripture concerning the assembling of Believers.

       178.    The GATHERING ORDERS, on their face and as applied, are neither neutral nor

generally applicable, but rather specifically and discriminatorily target the religious beliefs,

speech, assembly, and viewpoint of Calvary Chapel.

       179.    The GATHERING ORDERS, on their face and as applied, constitute a substantial

burden on Calvary Chapel’s sincerely held religious beliefs.




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        180.    The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of different standards for churches and religious gatherings than those

applicable to exempted businesses or non-religious entities.

        181.    Even if the GATHERING ORDERS’ restriction on religious gatherings were

supported by a compelling interest, which it is not, they are not the least restrictive means to

accomplish the government’s purported interest.

        182.    The GATHERING ORDERS, on their face and as applied, fail to accommodate

Calvary Chapel’s sincerely held religious beliefs.

        183.    The GATHERING ORDERS, on their face and as applied, specifically target

Calvary Chapel’s sincerely held religious beliefs and set up a system of individualized exemptions

that permits certain other similarly situated businesses or non-religious entities to continue

operations under certain guidelines while prohibiting religious gatherings, such as Calvary

Chapel’s church and religious gatherings, from operating with similar guidelines.

        184.    The GATHERING ORDERS, on their face and as applied, constitute an express

and overt religious gerrymander.

        185.    The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        186.    Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for relief against the State as hereinafter

set forth in its prayer for relief.




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               COUNT VIII—THE GATHERING ORDERS VIOLATE
           PLAINTIFF’S RIGHT TO FREEDOM OF SPEECH UNDER
    ARTICLE I, SECTION 4 OF THE CONSTITUTION OF THE STATE OF MAINE

          187.   Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

          188.   Article I, Section 4 of the Constitution of the State of Maine states that “[e]very

citizen may freely speak, write and publish sentiments on any subject.”

          189.   The GATHERING ORDERS, on their face and as applied, are an unconstitutional

prior restraint on Calvary Chapel’s speech.

          190.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of viewpoint.

          191.   The GATHERING ORDERS, on their face and as applied, unconstitutionally

discriminate on the basis of content.

          192.   The State lacks a compelling, legitimate, or rational interest in the GATHERING

ORDERS’ application of different standards for churches and religious gatherings than those

applicable to exempted businesses and non-religious entities.

          193.   The GATHERING ORDERS, on their face and as applied, are not the least

restrictive means to accomplish any permissible government purpose sought to be served by the

orders.

          194.   The GATHERING ORDERS, on their face and as applied, are not narrowly tailored

to serve the government’s purported interest.

          195.   The GATHERING ORDERS, on their face and as applied, do not leave open ample

alternative channels of communication for Calvary Chapel.




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        196.    The GATHERING ORDERS, on their face and as applied, are irrational and

unreasonable and impose unjustifiable and unreasonable restrictions on Calvary Chapel’s

constitutionally protected speech and right to assemble.

        197.    The GATHERING ORDERS, on their face and as applied, impermissibly vest

unbridled discretion in the hands of government officials, including Governor Mills and her

designees, to apply or not apply the GATHERING ORDERS in a manner to restrict free speech

and assembly.

        198.    The GATHERING ORDERS, on their face and as applied, are underinclusive by

limiting their prohibitions to only certain entities, organizations, or businesses deemed “non-

essential.”

        199.    The GATHERING ORDERS, on their face and as applied, are unconstitutionally

overbroad as they chill and abridge the free speech and assembly rights of Calvary Chapel.

        200.    On their face and as applied, the GATHERING ORDERS’ violation of Calvary

Chapel’s rights to free speech and assembly have caused, are causing, and will continue to cause

Calvary Chapel to suffer immediate and irreparable injury and undue and actual hardship.

        201.    Calvary Chapel has no other adequate remedy at law to correct the continuing

deprivation of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in its prayer for relief.

                    COUNT IX—THE GATHERING ORDERS VIOLATE
                    PLAINTIFF’S RIGHT TO HAVE LAWS SUSPENDED
                         ONLY BY THE MAINE LEGISLATURE

        202.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.




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        203.    Article I, Section 13 of the Constitution of the State of Maine states that “[t]he laws

shall not be suspended but by the Legislature or its authority.”

        204.    The GATHERING ORDERS’ express, unilateral, and unequivocal exercise of

purported executive authority over the constitutional rights of Calvary Chapel deprive Calvary

Chapel of the right to select its own government administration, pass its own laws, and maintain a

government administration directly responsible to the people, including by laws that are enacted

by the legislature.

        205.    The impermissible exercise of such executive authority violated the Constitution of

Maine by purporting to suspend constitutional rights and laws of the State without legislative

exercise of such suspension.

        206.    The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        207.    Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for the relief against the State as

hereinafter set forth in its prayer for relief.

                                       STATUTORY CLAIMS

 COUNT X—THE GATHERING ORDERS VIOLATE PLAINTIFF’S RIGHTS UNDER
    THE RELIGIOUS LAND USE AND INSTITUTIONALIZED PERSONS ACT

        208.    Calvary Chapel hereby realleges and adopts each and every allegation in paragraphs

1–85 above.

        209.    The Religious Land Use and Institutionalized Persons Act, 42 U.S.C. §§ 2000cc–

2000cc-5 (“RLUIPA”), states that “[n]o government shall impose or implement a land use



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regulation in a manner that imposes a substantial burden on the religious exercise of a person,

including a religious assembly or institution.” 42 U.S.C. § 2000cc(a)(1). If the government does

impose such a restriction, it must then demonstrate that such a burden on the religious assembly is

supported by a compelling interest and is the least restrictive means to further that alleged interest.

       210.    RLUIPA further mandates that no government “impose or implement a land use

regulation in a manner that treats a religious assembly or institution on less than equal terms with

a nonreligious assembly or institution.” 42 U.S.C. § 2000cc(b)(1).

       211.    RLUIPA further states that “[n]o government shall impose or implement a land use

regulation that (A) totally excludes religious assemblies from a jurisdiction; or (B) unreasonably

limits religious assemblies, institutions, or structures within a jurisdiction.” 42 U.S.C.

§ 2000cc(b)(3).

       212.    Calvary Chapel has sincerely held religious beliefs that Scripture is the infallible,

inerrant word of the Lord Jesus Christ, and that Calvary Chapel is to follow its teachings.

       213.    Calvary Chapel has sincerely held religious beliefs, rooted in Scripture’s

commands (e.g., Hebrews 10:25), that followers of Jesus Christ are not to forsake the assembling

of themselves together, and that they are to do so even more in times of peril and crisis. Indeed,

the entire purpose of the Church (in Greek “ekklesia,” meaning “assembly”) is to assemble

together Christians to worship Almighty God.

       214.    The GATHERING ORDERS, on their face and as applied, target Calvary Chapel’s

sincerely held religious beliefs by prohibiting religious gatherings.

       215.    The GATHERING ORDERS, on their face and as applied, impermissibly and

substantially burden Calvary Chapel’s sincerely held religious beliefs, compel Calvary Chapel to

either change those beliefs or to act in contradiction to them, and force Calvary Chapel to choose




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between the teachings and requirements of its sincerely held religious beliefs in the commands of

Scripture and the State’s imposed value system.

        216.     The GATHERING ORDERS, on their face and as applied, constitute a substantial

burden on Calvary Chapel’s sincerely held religious beliefs.

        217.     The State lacks a compelling interest in the GATHERING ORDERS’ application

of different standards for churches and religious gatherings than those applicable to exempted

businesses and non-religious entities.

        218.     Even if the GATHERING ORDERS’ restrictions on religious gatherings was

supported by a compelling interest, which it is not, they are not the least restrictive means to

accomplish the government’s purported interest.

        219.     The GATHERING ORDERS, on their face and as applied, have caused, are

causing, and will continue to cause Calvary Chapel immediate and irreparable harm, and actual

and undue hardship.

        220.     Calvary Chapel has no adequate remedy at law to correct the continuing deprivation

of its most cherished liberties.

        WHEREFORE, Calvary Chapel respectfully prays for relief against the State as hereinafter

set forth in its prayer for relief.

                                      PRAYER FOR RELIEF

        WHEREFORE, Calvary Chapel prays for relief as follows:

        A.       That the Court issue a Temporary Restraining Order restraining and enjoining

Governor Mills, all State officers, agents, employees, and attorneys, and all other persons in active

concert or participation with them, from enforcing, attempting to enforce, threatening to enforce,

or otherwise requiring compliance with the GATHERING ORDERS or any other order to the

extent any such order prohibits religious worship services at Calvary Chapel, or in-person church


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services at Calvary Chapel if Calvary Chapel meets the social distancing, enhanced sanitization,

and personal hygiene guidelines pursuant to which the State allows so-called “essential”

commercial and non-religious entities (e.g., beer, wine, and liquor stores, warehouse clubs, ‘big

box’ and ‘supercenter’ stores, and marijuana dispensaries) to accommodate gatherings of persons

without numerical limit. To be clear, Calvary Chapel merely seeks a TRO preventing Calvary

Chapel, its pastor, and its members from being subject to criminal sanctions for hosting an

in-person worship service on Sunday during which Calvary Chapel will implement social

distancing and hygiene protections on an equal basis with other non-religious gatherings. In

making such a request, Calvary Chapel merely seeks to be treated equally with other businesses,

and seeks only to be permitted to meet in person so long as they abide by social distancing,

enhanced sanitizing, and personal hygiene recommendations that other businesses are allowed to

follow and remain open.

       B.      That the Court issue a Preliminary Injunction pending trial, and a Permanent

Injunction upon judgment, restraining and enjoining Governor Mills, all State officers, agents,

employees, and attorneys, and all other persons in active concert or participation with them, from

enforcing the GATHERING ORDERS so that:

               i.     The State will not apply the GATHERING ORDERS in any manner as to

                      infringe Calvary Chapel’s constitutional and statutory rights by

                      discriminating against their right to assembly, speech, free exercise of

                      religion, equal protection, and all other constitutional and statutory rights

                      outlined herein;

               ii.    The State will apply the GATHERING ORDERS in a manner that treats

                      Calvary Chapel’s religious gatherings on equal terms as gatherings for or in

                      so-called “essential” businesses and non-religious entities;

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               iii.   The State will permit religious gatherings so long as they comply with the

                      same social distancing and personal hygiene recommendations pursuant to

                      which the State allows so-called “essential” commercial and non-religious

                      entities (e.g., beer, wine, and liquor stores, warehouse clubs, and

                      supercenters) to accommodate gatherings of persons without numerical

                      limit under the GATHERING ORDERS;

               iv.    The State will permit Calvary Chapel the opportunity to comport their

                      behavior to any further limitations or restrictions that the State may impose

                      in any future modification, revision, or amendment of the GATHERING

                      ORDERS or similar legal directive;

               v.     The State will cease issuing notices of criminal violation to Calvary

                      Chapel’s Pastor, members, and/or attendees; and

               vii.   The State will not bring any further enforcement, criminal, or other public

                      health actions against Calvary Chapel as threatened in Governor Mills’

                      public statements.

       C.      That the Court render a Declaratory Judgment declaring that the GATHERING

ORDERS both on their face and as applied by the State are unconstitutional under the United

States Constitution and Constitution of Maine, and further declaring that:

               i.     The State has violated Calvary Chapel’s rights to freedom of assembly by

                      impermissibly prohibiting religious gatherings;

               ii.    The State has violated Calvary Chapel’s rights to freedom of speech by

                      impermissibly prohibiting religious gatherings;

               iii.   The State has violated Calvary Chapel’s rights to free exercise of religion

                      by impermissibly prohibiting religious gatherings, substantially burdening

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                       their sincerely held religious beliefs, applying criteria that are neither

                       neutral nor generally applicable to religious and non-religious gatherings,

                       by establishing a religious gerrymander against religious gatherings, and by

                       establishing a system of individualized exemptions that exclude similarly

                       situated non-religious gatherings from the prohibitions applicable to

                       Calvary Chapel’s religious gatherings;

               iv.     The State has violated Calvary Chapels’ rights to equal protection of the

                       laws by impermissibly prohibiting religious gatherings, and by applying

                       criteria that treats religious gatherings in a discriminatory and dissimilar

                       manner as that applied to various non-religious gatherings;

               v.      The State has violated the Establishment Clause by impermissibly

                       demonstrating hostility towards religious gatherings and by impermissibly

                       showing favoritism to certain non-religious gatherings;

               vi.     The State has violated the Guarantee Clause by impermissibly exercising

                       executive authority in an unconstitutional manner; and

               vii.    The State has violated the Religious Land Use and Institutionalized Persons

                       Act by substantially and impermissibly burdening Calvary Chapel’s

                       sincerely held religious beliefs and treating unequally as compared to other

                       non-religious   assemblies    or   institutions,   by   imposing   draconian

                       prohibitions on Calvary Chapel’s sincerely held religious beliefs without a

                       compelling government interest, and without deploying the least restrictive

                       means to achieve any permissible government interest.

       D.      That the Court award Calvary Chapel nominal damages for the violation of Calvary

Chapel’s constitutional rights.

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       E.        That the Court adjudge, decree, and declare the rights and other legal relations

within the subject matter here in controversy so that such declaration shall have the full force and

effect of final judgment.

       F.        That the Court retain jurisdiction over the matter for the purposes of enforcing the

Court’s order.

       G.        That the Court declare Calvary Chapel is prevailing parties and award Calvary

Chapel the reasonable costs and expenses of this action, including a reasonable attorney’s fee, in

accordance with 42 U.S.C. § 1988.

       H.        That the Court grant such other and further relief as the Court deems equitable and

just under the circumstances.

                                Respectfully submitted,



       /s/ Charles W. Hodson                   /s/ Daniel J. Schmid
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                                       Attorneys for Calvary Chapel of Bangor




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                                       VERIFICATION

       I, Kenneth Graves, am over the age of eighteen years and the Pastor of Calvary Chapel of

Bangor, the Plaintiff in this action. The statements and allegations that pertain to me and/or

Plaintiff Calvary Chapel of Bangor or which I make in this VERIFIED COMPLAINT are true and

correct, and based upon my personal knowledge (unless otherwise indicated). If called upon to

testify to their truthfulness, I would and could do so competently. I declare under penalty of

perjury, under the laws of the United States and the State of Maine, that the foregoing statements

are true and correct to the best of my knowledge.

       Dated: May 5, 2020

                                             /s/ Kenneth Graves
                                             Kenneth Graves




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